Case 1:11-cr-00008-HSO-JMR   Document 80   Filed 07/19/11   Page 1 of 6
Case 1:11-cr-00008-HSO-JMR   Document 80   Filed 07/19/11   Page 2 of 6
Case 1:11-cr-00008-HSO-JMR   Document 80   Filed 07/19/11   Page 3 of 6
Case 1:11-cr-00008-HSO-JMR   Document 80   Filed 07/19/11   Page 4 of 6
Case 1:11-cr-00008-HSO-JMR   Document 80   Filed 07/19/11   Page 5 of 6
Case 1:11-cr-00008-HSO-JMR   Document 80   Filed 07/19/11   Page 6 of 6
